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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                :
UNITED STATES OF AMERICA                        :
                                                :
           v.                                   :
                                                :       Case No.: 23-CR-366 (ACR)
BENJAMIN COHEN,                                 :
                                                :
           Defendant.                           :
                                                :

                        GOVERNMENT’S SENTENCING MEMORANDUM

           The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Benjamin Cohen to 24 months of incarceration (the bottom of the applicable

Guidelines range), 3 years of supervised release, $2,000 in agreed-to restitution, and a $100 special

assessment.

    I.          INTRODUCTION

           The defendant, Benjamin Cohen, participated in the January 6, 2021 attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred police officers, and resulted in more than 2.9 million dollars in

losses.1



1
  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
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         Cohen was one of the first rioters who breached the police line on the West Front of the

Capitol as part of a mob that swarmed police officers and surged past barriers toward the building.

As he advanced toward the Capitol, Cohen specifically targeted and assaulted multiple police

officers, shoving and striking them with his hands. He later repeatedly entered the Lower West

Terrace “Tunnel”—the site of some of the most violent moments on January 6—where he twice

joined in a “heave-ho” effort against officers who were desperately trying to prevent the mob from

entering the Capitol building. After leaving the Tunnel and occupying the inaugural stage, Cohen

supported other rioters who were still inside and who continued to battle the police. Cohen then

entered the Capitol building through a broken window adjacent to the Tunnel’s entrance.

         The government recommends that the Court sentence Cohen to 24 months of incarceration.

A 24-month sentence reflects the gravity of Cohen’s conduct, but also acknowledges his admission

of guilt and other mitigating factors.

   II.        FACTUAL BACKGROUND

         A.     The January 6, 2021 Attack on the Capitol

         The government refers the court to the stipulated Statement of Offense (“SOO”) filed in

this case, ECF 32, for a short summary of the January 6, 2021 attack on the United States Capitol

by hundreds of rioters, in an effort to disrupt the peaceful transfer of power after the November 3,

2020 presidential election.

         B.     Cohen’s Role in the January 6, 2021 Attack on the Capitol

         It was Cohen’s idea to travel to D.C. on January 6, 2021. He attended the rally at the Ellipse

with his mother, then joined the large crowd that marched toward the Capitol. Once on the Capitol



million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.


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grounds, he left his mother and joined the mob gathered on the West Plaza. He made his way to

the front of the mob, where officers of the U.S. Capitol Police (USCP) had set up a bike-rack

barrier and officers from the USCP and Washington, D.C. Metropolitan Police Department (MPD)

had formed a police line. Cohen positioned himself at the front of the mob, right behind the bike

racks, face to face with the officers. See Images 1 and 2; Exhibits 1 and 4.2




                              Image 1: Cohen at the Front of the Mob




2
    The government’s video exhibits will be provided separately to the Court and defense counsel.
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      IV.      STATUTORY PENALTIES

            Cohen now faces sentencing on Count Two of the Indictment, for assaulting, resisting, or

impeding officers, in violation of 18 U.S.C. § 111(a)(1).

            As noted by the plea agreement and the Presentence Report issued by the U.S. Probation

Office, Cohen faces up to 8 years of imprisonment, a term of supervised release of not more than

three years, a fine up to $250,000, restitution, and a mandatory special assessment of $100.

      V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

            As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49.

The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful

study based on extensive empirical evidence derived from the review of thousands of individual

sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.

            The PSR accurately states the guidelines for Count Two, a violation of 18 U.S.C.

§ 111(a)(1), which is also set out in the plea agreement, ECF No. 30. As set out in the plea

agreement, Cohen’s acceptance of responsibility results in a three-point reduction from his total

offense level. See Plea Agreement, ECF No. 30 at 3; see also U.S.S.G. § 3E1.1(a), (b).




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          The guidelines calculation is included below:

          Count Two: 18 U.S.C. § 111(a)(1)

                 U.S.S.G. § 2A2.2(a)3                 Base Offense Level                    14
                 U.S.S.G. § 3A1.2(b)                  Official Victim                       +6
                 U.S.S.G. § 3E1.1(a) and (b)          Acceptance of Responsibility           -3

                                                                             Total          17

          Pursuant to the plea agreement, the parties have agreed that the zero-point offender

adjustment in U.S.S.G. § 4C1.1 does not apply because Cohen used violence or credible threats of

violence in connection with the offense and therefore he is ineligible to receive the adjustment

pursuant to U.S.S.G. § 4C1.1(a)(3). ECF No. 30 at 4.

          The U.S. Probation Office calculated Cohen’s criminal history as category I, which is not

disputed. PSR ¶ 55–61. Accordingly, based on the government’s calculation of the Cohen’s total

adjusted offense level, after acceptance of responsibility, at 17, Cohen’s Guidelines imprisonment

range is 24 to 30 months’ imprisonment. Cohen’s plea agreement contains an agreed-upon

Guidelines range calculation that mirrors the calculation contained herein. ECF No. 30 at 4.

    VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

          In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.

          A.     Nature and Circumstances of the Offense

          As shown in Section II(B) of this memorandum, Cohen’s felonious and violent conduct on

January 6, 2021 was part of a massive riot that almost succeeded in preventing the certification

vote from being carried out, frustrating the peaceful transition of Presidential power, and throwing


3
  By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.

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the United States into a Constitutional crisis. Cohen engaged in violence specifically targeting

police officers in two key locations at two key times: (1) the West Plaza just before 2:30 p.m.,

when the mob finally overran the plaza’s police line, and (2) the Tunnel around 3:00 p.m. to

approximately 4:00 p.m., when rioters waged an hours-long battle against police at that location.

The nature and circumstances of Cohen’s offense were of the utmost seriousness, and fully support

the government’s recommended sentence of 24 months’ incarceration.

       B. Cohen’s History and Characteristics

       Cohen is 22 years old and currently works as a cook at a yacht club in Connecticut. He is

a high school graduate and receives professional education in welding. PSR ¶ 79. His employment

history covers most, if not all, of his adult life. And while Cohen does not have a criminal history,

he reported to the Probation Office that, on January 1, 2023, he was inebriated and got into a

physical altercation at a bar which required hospital treatment. ¶ 70.




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       It was Cohen’s decision to go to the U.S. Capitol in the first place. He chose to leave his

mother behind and get closer to the building. He chose to furiously break past the police line during

a key moment on the West Plaza and specifically seek out police officers to assault. Then, despite

battling police, being hit with chemical spray, and having every opportunity to change course,

Cohen choose to continue his fight. During another key moment in the riot, he decided to enter the

Tunnel, continue battling the police, and join violent “heave ho” efforts. And when he finally left

the Tunnel, he still chose to enter a Senate office through a broken window next to the Tunnel and

then to remain on the inaugural stage, supporting the Tunnel fight from the exterior. These were

not the actions of someone caught up in a moment or a victim of another’s influence.

       While the government appreciates how Cohen’s conditions affect his life, they do not

justify nor explain why he repeatedly sought out and committed political violence at the Capitol.

Insofar as the stress of the day impacted his thinking and actions that day, nothing would have

prevented him from leaving the Capitol, as opposed to attacking police. Indeed, the fact that Cohen

falsely told investigators he did not encounter police or engage in violence that day underscores

the fact that Cohen appreciated the criminal nature of his actions and his culpability.




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         C.     The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                and Promote Respect for the Law

         As with the nature and circumstances of the offense, this factor supports a sentence of

incarceration. Cohen’s criminal conduct on January 6 was the epitome of disrespect for the law.

         D.     The Need for the Sentence to Afford Adequate Deterrence

                                       General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 4 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                        Specific Deterrence

         The need for the sentence to provide specific deterrence to Cohen also weighs heavily in

favor of a term of incarceration.

         Cohen did not come to Washington, D.C., and storm the Capitol on anyone’s influence or

plan—it was his idea, and he did not do a single thing he did not want to do. He left his mother,

contributed to the violence in two of the Capitol’s most dangerous areas that day, and then denied

doing any of it to investigators, conscious of possible consequences.

         E.     The Importance of the Guidelines

         “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United



4
    See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).

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States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007)

(quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity

courts lack to base its determinations on empirical data and national experience, guided by

professional staff with appropriate expertise,” and “to formulate and constantly refine national

sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct” (emphasis added). So long as the sentencing court “correctly calculate[s]

and carefully review[s] the Guidelines range, [it] necessarily [gives] significant weight and

consideration to the need to avoid unwarranted disparities” because “avoidance of unwarranted

disparities was clearly considered by the Sentencing Commission when setting the Guidelines

ranges.” Gall v. United States, 552 U.S. 38, 54 (2007).

       Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to impose a

sentence sufficient, but not greater than necessary, to comply with the purposes” of sentencing. 18

U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing disparities in Section

3553(a)(6) is “only one of several factors that must be weighted and balanced,” and the degree of

weight is “firmly committed to the discretion of the sentencing judge.” United States v. Coppola,

671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of the Section 3553(a) factors means

that “different district courts may have distinct sentencing philosophies and may emphasize and



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weigh the individual § 3553(a) factors differently; and every sentencing decision involves its own

set of facts and circumstances regarding the offense and the offender.” United States v. Gardellini,

545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. “As the qualifier ‘unwarranted’ reflects, this provision

leaves plenty of room for differences in sentences when warranted under the circumstances.”

United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013).5 “When an offense is uniquely serious,

courts will consider the need to impose stiffer sentences that justify the risk of potential

disparities.” United States v. Mattea, 895 F.3d 762, 768–69 (D.C. Cir. 2018) (cleaned up).

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.6

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the conduct in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       In United States v. Schmidt, 23-cr-276 (ACR), the defendant was one of the first rioters to

breach the outer perimeter of the restricted Capitol grounds at Peace Circle. After he and the mob


5
  If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP),
Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the
seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).
6
  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.

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pushed down the first set of barricades, Schmidt stood on a wall of the Capitol and yelled to other

rioters, “Who’s House? Our House!” Schmidt then jumped over black metal fencing and moved

to the front of the mob to confront police officers. Between 1:00 p.m. and 2:45 p.m., Schmidt

physically battled multiple lines of police officers on the West Plaza by pushing against them with

his back as he was pepper sprayed and hit with riot control devices. While on the West Plaza,

Schmidt picked up a cylindrical object, believed to be a “selfie stick,” and he threw it at the line

of police officers who were battling with rioters, but it did not appear to have hit any police officers.

        After almost two hours of battling the police officers, Schmidt made his way to the Upper

West Terrace and entered the Capitol building. Schmidt traveled through the Rotunda, entered

Statuary Hall, and exited the Capitol building through the East Foyer Doors at 2:51 p.m. He

remained outside the East Foyer Doors and reentered the Capitol building through the same doors

at approximately 3:15 p.m. Schmidt remained in the Capitol building this second time for

approximately 15 minutes before he was removed by police officers at 3:30 p.m. Schmidt then

remained on Capitol Grounds until the early evening hours of January 6, 2021.

        Schmidt pleaded guilty to contributing to a civil disorder in violation of 18 U.S.C.

§ 231(a)(3). This Court agreed with the government’s recommendation and sentenced Schmidt to

14 months’ incarceration: the top of the applicable Guidelines range in that case. Cohen’s case

similarly requires a guidelines sentence, albeit at the bottom of his higher applicable range under

§ 111(a)(1), because he directly lashed out at and struck multiple officers, participated in multiple

instances of “heave-ho” violence in and around the Tunnel, and lied about encountering officers

and entering the Capitol in his interview with the FBI.

        In United States v. Devlyn Thompson, 21-cr-641 (RCL), the defendant pled guilty to a

violation of § 111(a)(1) and (b). Like Cohen, Thompson witnessed the violence on the West Plaza



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and directly contributed to the violence in the Tunnel, where he struck one officer. Unlike Cohen,

Thompson struck the officer with a baton—a dangerous weapon—and did not directly assault

multiple officers, though he assisted other rioters in the Tunnel pass shields and other objects to

the front of the mob. Thompson also provided extensive cooperation as part of his plea. Thompson

also had a minor criminal history.

                                                Thompson argued at sentencing that his ASD

contributed to heightened suggestibility and weighed in favor of a non-incarceration sentence.

Judge Lamberth ultimately sentenced Thompson to a guideline incarceration sentence—46 months

in that case. As with Thompson, a guidelines sentence is appropriate for Cohen.

       In United States v. Matthew Brackley, 24-cr-9 (CJN), Brackley pled guilty to a violation of

18 U.S.C. § 111(a)(1). Brackley entered the U.S. Capitol and tried at one point to physically shove

past two police officers that attempted to stop him. Overall, Cohen’s conduct is much more

egregious than Brackley’s, as Brackley did not seek out and strike multiple police officers on the

West Plaza or help push against officers in the Tunnel. Judge Nichols sentenced Brackley to 15

months’ incarceration even though his risk of recidivism was low to zero and he had significant

community support and genuinely showed remorse.

       In United States v. Mark Ponder, 21-cr-259 (TSC), Ponder pled guilty to a violation of

18 U.S.C. § 111(a)(1) and (b). Ponder committed multiple assaults and was involved in clashes

with police in multiple locations. Though Ponder has a significant criminal history, his PSR also

described significantly mitigating mental health and substance abuse struggles that Judge Chutkan

agreed with defense counsel were “as severe as any I’ve seen in my career doing criminal law.”

Aug. 10, 2022 Tr., No. 21-cr-259, ECF No. 58. Judge Chutkan nevertheless sentenced Ponder to

63 months’ imprisonment—the top of his guidelines range.



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    VII.   RESTITUTION

       The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to

restitution under the VWPA).7 Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

       Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Cohen must pay $2,000 in restitution, which reflects in part the

role Cohen played in the riot on January 6.8 Plea Agreement at ¶ 12. As the plea agreement reflects,

the riot at the United States Capitol had caused “approximately $2,923,080.05” in damages, a

figure based on loss estimates supplied by the Architect of the Capitol and other governmental

agencies as of July 2023. Id. Cohen’s restitution payment must be made to the Clerk of the Court,


7
  The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
against property … including any offense committed by fraud or deceit,” “in which an identifiable
victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1).
8
  Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).

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who will forward the payment to the Architect of the Capitol and other victim entities. See PSR

¶ 118.

   VIII. FINE

         Cohen’s convictions for violation of 18 U.S.C. § 111(a)(1) subject him to a statutory

maximum fine of $250,000. See 18 U.S.C. § 3571(b). In determining whether to impose a fine, the

sentencing court should consider the defendant’s income, earning capacity, and financial

resources. See 18 U.S.C. § 3572(a)(1); See U.S.S.G. § 5E1.2(d). The sentencing guidelines require

a fine in all cases, except where the defendant establishes that he is unable to pay and is not likely

to become able to pay any fine. U.S.S.G. § 5E1.2(a) (2023). Here, Cohen’s financial assets set

forth in the PSR suggest that he is unable, and is unlikely to become able, to pay a fine.

   IX.      CONCLUSION

         For the reasons set forth above, the government recommends that the Court impose a

sentence of 24 months of incarceration (the bottom of the applicable Guidelines range), 3 years of

supervised release, $2,000 in agreed-to restitution, and a $100 special assessment.

                                               Respectfully submitted,

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